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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 1:19-CV-24956

 ROGELIO RIVERO ALEMAN,

        Plaintiff,

 vs.

 A & J GENERAL CONTRACTORS CORP.,
 MIGUEL A. GUERRERO, SR., and
 MIGUEL A. GUERRERO, JR.,

       Defendants.
 ______________________________/

                                          COMPLAINT

        Plaintiff, Rogelio Rivero Aleman, sues Defendants, A & J General Contractors Corp.,

 Miguel A. Guerrero, Sr., and Miguel A. Guerrero, Jr., as follows:

                               Parties, Jurisdiction, and Venue

        1.      Plaintiff, Rogelio Rivero Aleman, is over 18 years old and has been a sui juris

 resident of Miami-Dade County, Florida, at all times material.

        2.      Defendant, A & J General Contracting Corp. (“A&J”), is a sui juris Florida

 for-profit corporation that conducted its general contracting, construction, and roofing business

 in Miami-Dade County, Florida, at all times material, where it maintained its principal place of

 business and owed real property.

        3.      Defendant, Manuel A. Guerrero, Sr., was at all times material an

 owner/officer/director/member of A&J, for the time period relevant to this lawsuit. He ran

 A&J’s day-to-day operations, was responsible for all operational decisions, was partially or totally

 responsible for paying Plaintiff’s wages and the issuance of information returns.

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         4.      Defendant, Manuel A. Guerrero, Jr., was at all times material an

 owner/officer/director/member of A&J for the time period relevant to this lawsuit. He ran

 A&J’s day-to-day operations, was the qualifier for A&J, was responsible for all operational

 decisions, and was partially or totally responsible for paying Plaintiff’s wages and the issuance of

 information returns.

         5.      Venue is proper pursuant to 28 U.S.C. §1391(b)(ii) because Defendants transact

 business in this District, because Defendants, maintained their principal places of business in this

 District, because Plaintiff worked and was due to be paid in Miami-Dade County, and because

 most if not all of the operational decisions were made in this District.

         6.      This Court has original jurisdiction over Plaintiff’s federal question claims

 pursuant to 28 U.S.C. §1331 26 U.S.C. §201, et seq., and 26 U.S.C. §7434.

         7.      Any/all condition(s) precedent to filing this lawsuit occurred and/or was satisfied

 by Plaintiff.

         8.      Plaintiff retained the undersigned counsel and agreed to pay a reasonable fee for

 all services rendered.

                    COUNT II - FLSA MINIMUM WAGE VIOLATION(S)

         Plaintiff, Rogelio Rivero Aleman, reincorporates and re-alleges paragraphs 1 through 8 as

 though set forth fully herein and further alleges as follows:

         9.      Defendants were Plaintiff’s direct employers, joint employers and co-employers

 for purposes of the FLSA, as the term “employer” is defined by 29 U.S.C. §203(d).

         10.     Defendants regularly employed two or more employees for the relevant time

 period that handled goods or materials that travelled through interstate commerce, or used



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 instrumentalities of interstate commerce, thus making Defendants’ business an enterprise covered

 by the Fair Labor Standards Act.

        11.        Defendants have been at all times material engaged in interstate commerce in the

 course of their provision of general contracting, construction, and roofing which, traditionally,

 cannot be performed without using shingles, roof tiles, felt, tar, adhesives, fasteners, vehicles,

 wood, goods, materials, supplies, and equipment that have all moved through interstate

 commerce.

        12.        Defendants also engage in interstate commerce in the course of their submission

 of billings and receipt of payment involving out-of-state payors.

        13.        Furthermore, Defendants obtain, solicit, exchange and send funds to and from

 outside of the State of Florida, regularly and recurrently use telephonic transmissions going

 outside of the State of Florida to conduct business, and transmit electronic information through

 computers, the internet, via email, and otherwise outside of the State of Florida in the course of

 their business.

        14.        Defendants’ annual gross revenues derived from this interstate commerce are

 believed to be in excess of $500,000.00 for the relevant time period.

        15.        Plaintiff was an hourly employee of Defendants, as the term “employee” is defined

 by 29 U.S.C. §203(e).

        16.        Plaintiff was a non-exempt employee of Defendants.

        17.        Plaintiff consents to participate in this lawsuit.

        18.        Defendants hired Plaintiff to work for them as a driver to also perform general

 labor and roofing labor for them.

        19.        Plaintiff hauled roofing materials, adhesives, fasteners, and supplies, that traveled

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 in interstate commerce prior to Plaintiff’s transportation of same.

        20.     During this time, Plaintiffs regularly and routinely utilized vehicles, cellular

 telephones, fuel, oil, and other goods and supplies that moved through interstate commerce.

        21.     Plaintiff worked for Defendants from about 2015 to April 20, 2019, when he was

 injured on the job. To the extent that records exist regarding the exact dates of Plaintiff’s

 employment exist, such records are in the exclusive custody of Defendants.

        22.     Plaintiff would start his workday for Defendants by first picking up other

 employees for Defendants to drive them to Defendants’ warehouse and then to the jobsite(s), with

 the first pickup commencing at around 5:15 a.m.

        23.     Plaintiff would then end his workday by then driving to the warehouse to unload

 the work truck owned by Defendants, and oftentimes would then drive one or more employees

 home for the benefit Defendants, completing his workday.

        24.     Plaintiff worked for Defendants for six to seven days each week for over 12 hours

 each day.

        25.     Defendants would pay Plaintiff a day rate that ranged from $80 to $100,

 regardless of the hours worked.

        26.     Defendants paid Plaintiff his day rate for each day worked on a weekly basis, with

 a small part of his wages made by check and with the remainder of his wages paid in cash.

        27.     When considering all of the hours that Defendants required Plaintiff to work, and

 the daily rate(s) of pay, Defendants failed and refused to pay Plaintiff an hourly wage at or above

 the applicable minimum wage for all of the hours that he worked.

        28.     Defendants willfully and intentionally refused to pay Plaintiff wages at or above

 the applicable minimum wage for each of the hours he worked during the relevant time period.

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        29.     Defendants either recklessly failed to investigate whether their failure to pay

 Plaintiff at least the applicable minimum wage for the hours he worked during the relevant time

 period violated the Federal Wage Laws of the United States, they intentionally misled Plaintiff to

 believe that Defendants were not required to pay him at least the applicable minimum wage rate,

 and/or Defendants concocted a scheme pursuant to which the deprived Plaintiff the applicable

 minimum wage pay earned.

        30.     Plaintiff is entitled to a backpay award of minimum wages for all hours he worked,

 plus an equal amount as a penalty, plus all attorneys’ fees and costs.

        WHEREFORE Plaintiff, Rogelio Rivero Aleman, demands the entry of a judgment in

 his favor and against Defendants, A & J General Contracting Corp., Manuel A. Guerrero, Sr.,

 and Manuel A. Guerrero, Jr., jointly and severally after trial by jury, and as follows:

                a.      That Plaintiff recover compensatory minimum wage damages and an

                        equal amount of liquidated damages as provided under the law and in 29

                        U.S.C. § 216(b);

                b.      That Plaintiff recover pre-judgment interest on all unpaid minimum wages

                        if the Court does not award liquidated damages;

                c.      That Plaintiff recover an award of reasonable attorneys’ fees, costs, and

                        expenses pursuant to the FLSA;

                d.      That Plaintiff recover all interest allowed by law;

                e.      That Defendants be Ordered to make Plaintiff whole by providing

                        appropriate minimum pay and other benefits wrongly denied in an

                        amount to be shown at trial and other affirmative relief;



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                f.      That the Court declare Defendants to be in willful violation of the

                        minimum wage provisions of the FLSA; and

                g.      Such other and further relief as the Court deems just and proper.

                     COUNT II - FLSA OVERTIME WAGE VIOLATION(S)

        Plaintiff, Rogelio Rivero Aleman, reincorporates and re-alleges paragraphs 1 through 8 as

 though set forth fully herein and further alleges as follows:

        31.     Defendants were Plaintiff’s direct employers, joint employers and co-employers

 for purposes of the FLSA, as the term “employer” is defined by 29 U.S.C. §203(d).

        32.     Defendants regularly employed two or more employees for the relevant time

 period that handled goods or materials that travelled through interstate commerce, or used

 instrumentalities of interstate commerce, thus making Defendants’ business an enterprise covered

 by the Fair Labor Standards Act.

        33.     Defendants have been at all times material engaged in interstate commerce in the

 course of their provision of general contracting, construction, and roofing which, traditionally,

 cannot be performed without using shingles, roof tiles, felt, tar, adhesives, fasteners, vehicles,

 wood, goods, materials, supplies, and equipment that have all moved through interstate

 commerce.

        34.     Defendants also engage in interstate commerce in the course of their submission

 of billings and receipt of payment involving out-of-state payors.

        35.     Furthermore, Defendants obtain, solicit, exchange and send funds to and from

 outside of the State of Florida, regularly and recurrently use telephonic transmissions going

 outside of the State of Florida to conduct business, and transmit electronic information through



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 computers, the internet, via email, and otherwise outside of the State of Florida in the course of

 their business.

        36.        Defendants’ annual gross revenues derived from this interstate commerce are

 believed to be in excess of $500,000.00 for the relevant time period.

        37.        Plaintiff was an hourly employee of Defendants, as the term “employee” is defined

 by 29 U.S.C. §203(e).

        38.        Plaintiff was a non-exempt employee of Defendants.

        39.        Plaintiff consents to participate in this lawsuit.

        40.        Defendants hired Plaintiff to work for them as a driver to also perform general

 labor and roofing labor for them.

        41.        Plaintiff hauled roofing materials, adhesives, fasteners, and supplies, that traveled

 in interstate commerce prior to Plaintiff’s transportation of same.

        42.        During this time, Plaintiffs regularly and routinely utilized vehicles, cellular

 telephones, fuel, oil, and other goods and supplies that moved through interstate commerce.

        43.        Plaintiff worked for Defendants from about 2015 to April 20, 2019, when he was

 injured on the job. To the extent that records exist regarding the exact dates of Plaintiff’s

 employment exist, such records are in the exclusive custody of Defendants.

        44.        Plaintiff would start his workday for Defendants by first picking up other

 employees for Defendants to drive them to Defendants’ warehouse and then to the jobsite(s), with

 the first pickup commencing at around 5:15 a.m.

        45.        Plaintiff would then end his workday by then driving to the warehouse to unload

 the work truck owned by Defendants, and then oftentimes would drive one or more employees

 home for Defendants, when he would complete his workday.

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         46.     Plaintiff worked for Defendants for six to seven days each week.

         47.     Defendants would pay Plaintiff a day rate that ranged from $80 to $100 per day,

 regardless of the hours worked each day.

         48.     Defendants paid Plaintiff on a weekly basis for all hours worked in part by check

 and in part in cash.

         49.     Plaintiff would regularly and routinely work more than 40 hours in a workweek

 for Defendants.

         50.     Defendants failed and refused to pay Plaintiff overtime wages calculated at time

 and one-half times his regular hourly rate(s) of pay for all of the hours that he worked over 40

 hours in a given workweek.

         51.     Defendants willfully and intentionally refused to pay Plaintiff wages at a rate of

 time and one-half times his regular rate of pay for each of the overtime hours he worked during

 the relevant time period by paying Plaintiff in cash for all hours worked over 80 in a pay period

 at their gas station at his regular rate of pay.

         52.     Defendants either recklessly failed to investigate whether their failure to pay

 Plaintiff an overtime wage for the hours he worked during the relevant time period violated the

 Federal Wage Laws of the United States, they intentionally misled Plaintiff to believe that

 Defendants were not required to pay an overtime rate, and/or Defendants concocted a scheme

 pursuant to which the deprived Plaintiff the overtime pay earned.

         53.     Plaintiff is entitled to a backpay award of overtime wages for all overtime hours he

 worked, plus an equal amount as a penalty, plus all attorneys’ fees and costs.




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        WHEREFORE Plaintiff, Rogelio Rivero Aleman, demands the entry of a judgment in

 his favor and against Defendants, A & J General Contracting Corp., Manuel A. Guerrero, Sr.,

 and Manuel A. Guerrero, Jr., jointly and severally after trial by jury, and as follows:

                a.      That Plaintiff recover compensatory overtime wage damages and an equal

                        amount of liquidated damages as provided under the law and in 29 U.S.C.

                        § 216(b);

                b.      That Plaintiff recover pre-judgment interest on all unpaid overtime wages

                        if the Court does not award liquidated damages;

                c.      That Plaintiff recover an award of reasonable attorneys’ fees, costs, and

                        expenses pursuant to the FLSA;

                d.      That Plaintiff recover all interest allowed by law;

                e.      That Defendants be Ordered to make Plaintiff whole by providing

                        appropriate overtime pay and other benefits wrongly denied in an amount

                        to be shown at trial and other affirmative relief;

                f.      That the Court declare Defendants to be in willful violation of the

                        overtime provisions of the FLSA; and

                g.      Such other and further relief as the Court deems just and proper.

               COUNT III – VIOLATION(S) OF 26 U.S.C. §7434 FOR 2018

        Plaintiff, Rogelio Rivero Aleman, reincorporates and re-alleges paragraphs 1 through 8 as

 though set forth fully herein and further alleges as follows:

        54.     Plaintiff performed worked for Defendants during calendar year 2018.




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         55.     Defendants, A & J General Contracting Corp., Manuel A. Guerrero, Sr., and

  Manuel A. Guerrero, Jr., each had an obligation to provide correct information returns to the

  IRS and to the Plaintiff.

         56.     Defendants, A & J General Contracting Corp., Manuel A. Guerrero, Sr., and

  Manuel A. Guerrero, Jr., paid Plaintiff and so are directly responsible for the issuance of checks

  to Plaintiff(s), the payment of taxes to the IRS based on the wages earned by and paid to Plaintiff,

  the accurate reporting of all income paid as to Plaintiff as wages, the issuance of correct W-2’s to

  Plaintiff for each calendar year during which he performed work for Defendants, and the filing of

  correct information returns on own behalf of the corporate Defendants.

         57.     Defendants, A & J General Contracting Corp., Manuel A. Guerrero, Sr., and

  Manuel A. Guerrero, Jr., normally paid Plaintiff by check for some of the hours he worked in a

  weekly pay period in 2018.

         58.     During the time that Plaintiff worked for Defendants, A & J General Contracting

  Corp., Manuel A. Guerrero, Sr., and Manuel A. Guerrero, Jr., they also paid Plaintiff in cash in

  2018 for the remainder of the hours he worked.

         59.     Defendants, A & J General Contracting Corp., Manuel A. Guerrero, Sr., and

  Manuel A. Guerrero, Jr., did not include the amounts that they paid to Plaintiff in the cash in

  2018 in any information returns relating to the wages earned by (or paid to) Plaintiff, such as the

  Form W-2 that Defendants issued to Plaintiff for calendar year 2018.

         60.     Defendants, A & J General Contracting Corp., Manuel A. Guerrero, Sr., and

  Manuel A. Guerrero, Jr., willfully and intentionally served/filed/provided Plaintiff with a

  fraudulent and/or false IRS Form 2018 for calendar year 2018 by underreporting the amount

  they paid to Plaintiff in calendar year 2018.

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           61.    Plaintiff suffered damages as a result of Defendants’ willful provision of false

  information returns in 2018 caused by Defendants’ intentional and willful acts as described

  above.

           62.    Section 7434 of 26 U.S.C. provides, in pertinent part, as follows:

           (a) In general
           If any person willfully files a fraudulent information return with respect to payments
           purported to be made to any other person, such other person may bring a civil action for
           damages against the person so filing such return.

           (b) Damages In any action brought under subsection (a), upon a finding of liability on
           the part of the defendant, the defendant shall be liable to the plaintiff in an amount equal
           to the greater of $5,000 or the sum of—

                  (1) any actual damages sustained by the plaintiff as a proximate result of the filing
                  of the fraudulent information return (including any costs attributable to resolving
                  deficiencies asserted as a result of such filing),

                  (2) the costs of the action, and

                  (3) in the court’s discretion, reasonable attorneys’ fees.

           WHEREFORE Plaintiff, Rogelio Rivero Aleman, demands the entry of a judgment in

  his favor and against Defendants, A & J General Contracting Corp., Manuel A. Guerrero, Sr.,

  and Manuel A. Guerrero, Jr., jointly and severally after trial by jury and as follows:

                  a.      That Plaintiff recover the greater of $5,000 for each fraudulent

                          information return filed/served by Defendants in 2018 as set forth above;

                  b.      That Plaintiff recover an award of reasonable attorneys’ fees, costs, and

                          expenses pursuant to 26 U.S.C. §7434;

                  c.      That Plaintiff recover all interest allowed by law; and

                  d.      Such other and further relief as the Court deems just and proper.




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                                 DEMAND FOR JURY TRIAL

        Plaintiff, Rogelio Rivero Aleman, demands a trial by jury of all issues so triable.

        Respectfully submitted this 2nd day of December 2019,

                                                       s/Brian H. Pollock, Esq.
                                                       Brian H. Pollock, Esq.
                                                       Fla. Bar No. 174742
                                                       brian@fairlawattorney.com
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